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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Christine M. Arguello


  Criminal Action No. 19-cr-00534-CMA-GPG-02

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  CHRISTOPHER PAREDES-MORENO,

         Defendant.


       ORDER ADOPTING AND AFFIRMING OCTOBER 2, 2020 RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE


         This matter is before the Court on the Recommendation of Magistrate Judge

  Gallagher (Doc. #65). The Court notes that pursuant to the terms of the written plea

  agreement, Defendant entered a plea of guilty to Count One of the Indictment which

  charging a violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(viii), possession with intent

  to distribute methamphetamine. The Court also notes that Defendant consented to

  Magistrate Judge Gallagher advising him with regard to his Constitutional rights and his

  rights pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Magistrate Judge

  Gallagher conducted the Rule 11 hearing on October21, 2020, at which time he

  appropriately advised the Defendant of his rights and made inquiry as to the

  Defendant’s understanding of the charges, the terms of the plea agreement, the

  voluntariness of his plea, and of the consequences of pleading guilty. Based on that


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  hearing Magistrate Judge Gallagher recommended that the District Court Judge accept

  Defendant's plea of guilty to Counts One of the Indictment.

        Neither the Defendant nor the Government has filed any objections to the

  Magistrate Judge=s Recommendation; therefore, it is ORDERED THAT:

        1.     Court Exhibits 1 and 2 are accepted and admitted.

        2.     The plea as made in open court on October 2, 2020 is accepted and the
               Defendant is adjudged guilty of violation of 21 U.S.C. §§ 841(a)(1) and
               (b)(1)(A)(viii), possession with intent to distribute methamphetamine


        DATED: October 19, 2020


                                    BY THE COURT:


                                    ___________________________________
                                    CHRISTINE M. ARGUELLO
                                    United States District Judge




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